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15                    UNITED STATES DISTRICT COURT
16               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17                              (San Diego)

18 AL OTRO LADO, Inc., et al.,                Case No. 3:17-cv-02366-BAS-KSC
19                      Plaintiffs,           Hon. Cynthia A. Bashant
20                      v.                    DEFENDANTS’ EMERGENCY MOTION
21                                            AND NOTICE OF MOTION TO STAY
   CHAD F. WOLF, * Acting Secretary,
                                              PRELIMINARY INJUNCTION (ECF No.
22 U.S. Department of Homeland Security,
                                              330) PENDING APPEAL
23 in his official capacity, et al.,
                                              Hearing Date: January 6, 2020
24                             Defendants
                                              NO ORAL ARGUMENT UNLESS
25                                            REQUESTED BY THE COURT
26
27
      *
28     Acting Secretary Wolf is automatically substituted for former Acting Secretary
      McAleenan pursuant to Federal Rule of Civil Procedure 25(d).
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1         DEFENDANTS’ EMERGENCY MOTION AND NOTICE OF MOTION
2           PLEASE TAKE NOTICE that, at a time the Court deems proper, or as soon
3     thereafter as the parties may be heard, Defendants will and hereby do move on an
4     emergency basis for a stay of this Court’s Order Granting Plaintiffs’ Motions for
5     Preliminary Injunction and Provisional Class Certification (ECF No. 330) pending
6     Defendants’ appeal of that order to the U.S. Court of Appeals for the Ninth Circuit.
7     Defendants also request that the Court enter an expedited briefing schedule on this
8     Emergency Motion. Defendants further ask that the Court enter an administrative
9     stay of its preliminary-injunction order pending briefing and adjudication of Defend-
10    ants' stay motion. This Motion is based on the attached memorandum of points and
11    authorities, all pleadings, papers, and files in this action, and on any arguments that
12    may be presented orally at a hearing on this Motion. Defendants’ counsel conferred
13    with Plaintiffs’ counsel on December 4, 2019, regarding this Motion. 1 Plaintiffs op-
14    pose this Motion and Defendants’ request for an expedited briefing schedule.
15
      DATED: December 4, 2019                 Respectfully submitted,
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17                                            JOSEPH H. HUNT
18                                            Assistant Attorney General
                                              Civil Division
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20                                            SCOTT G. STEWART
                                              Deputy Assistant Attorney General
21                                            Civil Division
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       Because Defendants are seeking a stay of a preliminary injunction, which consti-
24    tutes emergency relief, Defendants understand that this motion does not require a
25    conference of counsel under this Court’s Standing Order for Civil Cases § 4.A. De-
      fendants nevertheless conferred with Plaintiffs on December 4, 2019. Plaintiffs
26
      stated that they oppose this motion. To the extent a conference is required, Defend-
27    ants respectfully request that the Court waive the requirement that the conference
28    take place seven days prior to the filing of the motion. See Standing Order for Civil
      Cases § 4.A.
                                                              DEFS.’ MOT. TO STAY PRELIM. INJ.
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1                                        WILLIAM C. PEACHEY
2                                        Director

3                                        /s/ Katherine J. Shinners
4                                        KATHERINE J. SHINNERS
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5                                        United States Department of Justice
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                                                         DEFS.’ MOT. TO STAY PRELIM. INJ.
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1                              CERTIFICATE OF SERVICE
2                                 No. 17-cv-02366-BAS-KSC
3           I certify that I served a copy of this document on the Court and all parties by
4     filing this document with the Clerk of the Court through the CM/ECF system, which
5     will provide electronic notice and an electronic link to this document to all counsel
6     of record.
7
8     DATED: December 4, 2019                Respectfully submitted,
9                                            /s/ Katherine J. Shinners
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11                                           United States Department of Justice
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                                                             DEFS.’ MOT. TO STAY PRELIM. INJ.
                                               3                Case No. 3:17-cv-02366-BAS-KSC
